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 Interim Guidance for Procedures When Identifying an
   Employee with Concerns for COVID-19 Exposures
                                      March 11, 2020

Background:

In December 2019, a new respiratory disease called Coronavirus Disease 2019
(COVID-19) was detected in China. COVID-19 is caused by a virus (SARS-CoV-2) that
is part of a large family of viruses called coronaviruses.

To help prevent spread of COVID-19, procedures and supplies should be in place to
encourage proper hand and respiratory hygiene and avoid close contact with people
who are sick, and including staying home when you are sick.

  Hand Hygiene:
  Signage with handwashing procedures should be posted in prominent locations
  promoting hand hygiene.
  • Regular hand washing with soap and water for at least 20 seconds should be
     done:
          o Before and after eating.
          o After sneezing, coughing, or nose blowing.
          o After using the restroom.
          o Before handling food.
          o After touching or cleaning surfaces that may be contaminated.
          o After using shared equipment and supplies like electronic equipment such
             as keyboards, mice and phones.
   • If soap and water are not available, use an alcohol-based hand sanitizer that
      contains at least 60% alcohol.

  Respiratory Hygiene:
  • Covering coughs and sneezes with tissues or the corner of elbow.
  • Disposing of soiled tissues immediately after use.


Procedures for Addressing Employees with Concerns for COVID-19 Exposures:
For purposes of coronavirus, there are both a mandatory quarantine protocol and a
precautionary quarantine protocol. By definition, mandatory quarantine is the
classification which can be directed by legal order if not complied with. LHDs must
utilize the following definitions in determining whether or not to institute a mandatory or
precautionary quarantine:
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       •    Status for Required Mandatory Quarantine – Person has been in close
            contact (6 ft.) with someone who is positive, but is not displaying symptoms
            for COVID-19; or person has traveled to China, Iran, Japan, South Korea or
            Italy and is displaying symptoms of COVID019;

       •    Status for Required Mandatory Isolation – Person has tested positive for
            COVID-19, whether or not displaying symptoms for COVID-19. LHDs must
            immediately issue an order for Mandatory Quarantine or Isolation once
            notified, which shall be served on the person impacted. Given the virulence of
            COVID-19, we also have precautionary protocols.

       •    Status Required for Precautionary Quarantine – Person meets one or more of
            the following criteria: (i) has traveled to China, Iran, Japan, South Korea or
            Italy while COVID-19 was prevalent, but is not displaying symptoms; or (ii) is
            known to have had a proximate exposure to a positive person but has not had
            direct contact with a positive person and is not displaying symptoms.

Symptoms of COVID-19 include fever or new or worsening respiratory symptoms
including cough or shortness of breath. Anyone who feels they may meet the above
criteria for quarantine should immediately contact their local health department in the
county in which they reside. If the employee also has symptoms associated with
COVID-19, they should be instructed to also immediately call their healthcare
provider for further guidance.

Employers may discuss opportunities for employees to work at home if possible if they
require quarantine or isolation as determined by the local health department but are
asymptomatic.

Guard Against Stigma:
As new information emerges, please remind your employees that the risk of novel
coronavirus is not connected with race, ethnicity or nationality. Stigma will not help to
fight the illness. Do not make determinations of risk based on race or country of origin
and be sure to maintain confidentiality of people with confirmed coronavirus infection.

Sharing accurate information during a time of heightened concern is one of the best
things we can do to keep rumors and misinformation from spreading.

More information:

New York State Department of Health’s COVID-19 Webpage:
https://www.health.ny.gov/diseases/communicable/coronavirus/

Listing of Local Health Departments:
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https://www.health.ny.gov/contact/contact_information/

Centers for Disease Control and Prevention Webpage:
https://www.cdc.gov/coronavirus/2019-ncov/
